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                         IN THE UNITED STATES DISTRICT
                       COURT FOR THE NORTHERN DISTRICT
                          OF ILLINOIS EASTERN DIVISION


 ZHIYONG HUANG,
                                                        Case No. 1:24-cv-05569
                Plaintiff,
                                                        Judge John J. Tharp
 v.
                                                        Magistrate Judge Keri L. Holleb
 PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE “A”,

                Defendants.




                         NOTICE OF VOLUNTARY DISMISSAL



Pursuant to FRCP 4(a)(1)(A)(i), Plaintiff hereby inform this Court that Defendant

AHABIPERS Deal LLC
__________________________________                111 with _________________
                                   (Defendant No. _____)   Walamart

          10001324173
seller ID _____________________, identified in Schedule A of the Complaint, and Plaintiff

have reached Settlement. Plaintiff hereby voluntarily dismisses Defendant from this dispute,

each party to bear its own fees, costs, and expenses.



      7 November 2024
Dated ____________________                                  Respectfully Submitted:



                                                            ________________________

                                                            Robert M. DeWitty
                                                            DeWitty and Associates
                                                            Attorney, Plaintiff
                                                            Email rmdewitty@dewittyip.com
                                                                  admin@dewittyip.com
                                                            Tele: 202-571-7070
                                                            Fax: 202-513-8071
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                                CERTIFICATE OF SERVICE



       The undersigned certifies that a true and correct copy of the above and foregoing

                                     7 November 2024
document was electronically filed on _______________________ with the Clerk of Court

using the CM/ECF system, which will automatically send an email notification of such filing

to all registered attorneys of record.



                                                         ____________________________

                                                          Robert M. DeWitty
